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     Fax: (510)272-0711
 4
 5   Attorney for Defendant
     NATHAN WOODARD
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 8
                                  UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                        OAKLAND DIVISION
11
                                                  –ooo–
12
13    UNITED STATES OF AMERICA,                       No. CR 06-00217 DLJ

14                   Plaintiff,

15    vs.

16                                                    STIPULATION AND ORDER
                                                      TO PERMIT OUT-OF-STATE
17    KENNETH DEAN AFFOLTER, et al.,                  TRAVEL

18
19                   Defendants.
                                                  /
20
21          IT IS HEREBY STIPULATED AND AGREED by and between Randy Sue

22   Pollock, counsel for defendant Nathan Woodard and Assistant United States Attorney

23   Dana Wagner that the terms of Mr. Woodard’s pretrial release bond be modified to permit

24   his out-of-district travel to Santa Fe, New Mexico from August 4, 2006-August 15, 2006.

25   The purpose of this trip is to visit his fiancee’s family.

26   ///

27   ///

28   ///
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 1   Defense counsel has spoken to the Office of Pretrial Services about this matter and they
 2   have no objection. Mr. Woodard will provide his itinerary to Pretrial Services prior to his
 3   departure.
 4
 5
 6    Dated: July____, 2006                          /s/
 7                                              RANDY SUE POLLOCK
                                                Attorney for Defendant
 8                                              NATHAN WOODARD

 9
10
11   Date:     July_____, 2006                  ___/s/_________________________________
                                                DANA WAGNER
12                                             Assistant United States Attorney
                                                            S DISTRICT
13                                                       ATE           C
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     SO ORDERED: July 26, 2006

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15                                                     IT IS S

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                                                            Judge W
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18                                                    D IS T IC T O
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                                               ____________________________________
19                                             WAYNE D. BRAZIL
                                               United States Magistrate Judge for
20                                             for D. LOWELL JENSEN
                                               United States District Court Judge
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